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             EXHIBIT D
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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

IN RE: EpiPen (Epinephrine Injection, USP)   MDL No. 2785
Marketing, Sales Practices and
Antitrust Litigation                         Case No. 17-md-2785-DDC-TJJ

This Document Relates to:
Class Cases




                 REBUTTAL EXPERT REPORT OF JAMES BRUNO




                                    February 7, 2020
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                           I. PROFESSIONAL QUALIFICATIONS

        1.     My name is James R. Bruno. I have been retained by Class Plaintiffs to opine on
certain matters raised in the Expert Report of Steven M. Weisman, Ph.D., dated December 23,
2019. My full CV is attached as Appendix A to this report.

A.       Professional Background

        2.     I am currently the Managing Director of Chemical and Pharmaceutical Solutions,
Inc. (“CAP Solutions”), a pharmaceutical consulting company I founded in 2002. In this role, I
am primarily responsible for offering executive-level consulting to pharmaceutical companies
and contract manufacturers on matters of manufacturing, supply, and development of
pharmaceutical products.

        3.    I work with my clients to develop long-term supply lines, including
troubleshooting issues, for both active pharmaceutical ingredients (“APIs”) and finished
(“Dosage”) pharmaceutical products; I also work with my clients to establish long-term supply
agreements. I am involved in every aspect of the manufacturing contract process, including
manufacturer selection, financial and technical diligence, contract negotiation, execution, and
quality agreements. Currently, my primary focus is on assisting emerging pharmaceutical
companies with the development and commercialization of API and Dosage products. I also
provide consulting services to larger, established pharmaceutical companies such as UCB
(Belgium) and Pfizer (USA), as well as to contract manufacturing organizations.

        4.      Before establishing CAP Solutions, I worked in the pharmaceutical manufacturing
industry for approximately 30 years. I began my career in 1973 as a Technical Service Manager
at NL Industries, where I was responsible for developing new formulations for excipients used in
pharmaceutical and cosmetic products. After leaving NL Industries in 1978, I took on increasing
responsibility at various pharmaceutical manufacturing companies. From 1978 until 1982, I was
a Project Manager at Ganes Chemical, which was a major supplier of DEA-controlled drugs. I
was responsible for developing a custom manufacturing business and worked extensively with
large pharmaceutical companies.

       5.      From 1982 to 1994, I was a Director at Sipsy Chemical, a French-based
manufacturer that supplied APIs to North American pharmaceutical companies. I was
responsible for developing a new API manufacturing business, which included working with
branded pharmaceutical companies to execute long-term supply agreements for both branded and
generic drugs. I also assisted in the development and licensing of new technologies and acted as
an FDA agent for the company.

        6.     From 1994 to 1996, I was a Director at Aerojet, a contract manufacturer that
supplies APIs to pharmaceutical companies around the globe, specializing in the long-term
supply of custom products. My responsibilities included negotiating supply agreements with
client pharmaceutical companies and managing the research and development group.

        7.    In 1996, I took a position as Vice President of Sales and Marketing at Vinchem, a
trading company that represents suppliers of pharmaceutical products located outside the U.S.
My role was to develop new markets for the member suppliers and broaden Vinchem’s reach

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into custom manufacturing. Among other responsibilities in this role, I performed audits and
technical assessments for contract manufacturers around the globe.

       8.       In 1999, I became Global Business Manager at Honeywell, a contract
manufacturer that develops intermediates and APIs for pharmaceutical companies around the
world. I led a group focused on the development of new compounds, and was responsible for all
business aspects of that work, including negotiating and executing long-term supply agreements.
I worked with both large and small pharmaceutical companies, as well as suppliers of finished
pharmaceutical products. I left Honeywell in 2002 to found CAP Solutions.

        9.      During my career, I have worked on various submissions, including
Investigational New Drugs (INDs), New Drug Applications (NDAs), Abbreviated New Drug
Applications (ANDAs), and 505(2)(b)s for both simple and complex pharmaceuticals. This
work included the preparation and review of the CMC (Chemistry, Manufacturing, and Control).
I have interacted with the FDA on behalf of clients and have acted as the FDA agent for several
foreign manufacturing companies.1 I have reviewed and prepared Drug Master Files (DMFs)
and audited plants, among other activities. I have worked on various dosage types, including
solid oral dosages (tablets and capsules), solutions, injectables (including prefilled syringes),
liquids, creams, and lotions. I have worked on several emergency use products such as
Pralidoxime, which is used for nerve gas and insecticide poisoning and is supplied in a prefilled
syringe. I also have experience with the development of Epinephrine products.

        10.    As further detailed below, I have served as an expert for the Federal Trade
Commission on issues relating to manufacturing and contracts of both dosage and API, including
for In re Androgel Antitrust Litigation, 1:09-md-2084 (N.D. Ga.).

B.         Education and Professional Activities

       11.    I received a Bachelor of Science degree from Rider University in 1973, a Master
of Science degree from St. Joseph’s University in 1978, and an MBA from Rider University in
1982.

       12.     I am actively involved with several professional organizations, including the
Drug, Chemical & Associated Technologies Association, of which I was previously President,
the Society of Chemical Manufacturers & Affiliates, and the American Chemical Society and
BioNJ. I have also served as the Chairman of the Scientific Advisory Executive Committee at
Rider University, which worked to develop new programs to assist the university, as well as
develop mentoring and internship opportunities.

       13.      I have been involved with chemical manufacturing trade publications, including
PharmaChem, of which I am a member of the Editorial Committee, and Organic Process
Research & Development, for which I am a reviewer. I have published numerous articles in
trade publications on pharmaceutical manufacturing and given numerous training and seminars
on pharmaceutical manufacturing over the last 15 years.



1
    Foreign corporations must have a U.S. agent pursuant to FDA regulations, and I have acted in this role.

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C.       Prior Expert Testimony and Compensation

         14.     I have given testimony as an expert in the following matters:

               A.      I submitted an expert report and rebuttal report in In re Namenda Direct
         Purchaser Antitrust Litigation, 1:15-cv-07488 (S.D.N.Y.), an antitrust case involving the
         drug Namenda. I was deposed in that case.

                 B.      I submitted an expert report and rebuttal report in In re Niaspan Antitrust
         Litigation, 2:13-md-2460 (E.D. Pa.), an antitrust case involving the drug Niaspan. I was
         deposed in that case.

                 C.      I submitted an expert report and rebuttal report in In re Androgel Antitrust
         Litigation, 1:09-md-2084 (N.D. Ga.), an antitrust case involving the drug Androgel. I
         was deposed in that case.

                 D.      In 2015-2016, I served as an expert in a patent infringement case, APR,
         LLC v. John Lomans; John Lomans v. Cameron Reid, Dr. Reddy’s Laboratories Limited,
         Dr. Reddy’s Laboratories, Inc., Dr. Reddy’s Laboratories New York, Inc.; Dr. Reddy’s
         Laboratories Limited, Dr. Reddy’s Laboratories, Inc., Dr. Reddy’s Laboratories New
         York, Inc. v. Nirmal Mulye, Nostrum Pharmaceuticals, LLC, Nostrum Technologies,
         LLC, Nostrum Laboratories, Inc., Sarang Sewatkar, Kymera, LLC; and Cameron Reid v.
         John Lomans, Consolidated Docket No. BER-L-5000-12 (New Jersey Superior Court,
         Law Division, Bergen County). I was deposed in that case.

        15.   Since being retained by counsel for the Class Plaintiffs in 2019, I have been
compensated at my customary rate of $325 per hour. No part of my compensation is contingent
on the outcome of this litigation.

                                      II. SCOPE OF OPINIONS

        16.     I have been retained to opine on certain matters raised by Dr. Weisman in his
rebuttal to Dr. Carl Peck’s Expert Report, dated October 31, 2019. The Report of Dr. Steven
Weisman, dated December 23, 2019 (hereinafter “Weisman Report”), concludes, inter alia, that
“the Teva generic epinephrine auto-injector (EAI) was an incredibly challenging product to
develop,” that “Teva faced multiple developmental complications,” and that “the approval
timeline of Teva’s generic EAI was reflective of consistent and reasonable commercial efforts.”2
In the course of rendering his opinions, Dr. Weisman opines that Teva treated its generic EAI
device as a priority project and made reasonable commercial efforts to bring it to market
throughout the entire time period of its development.3 Dr. Weisman also introduces a number of
issues relating to the manufacturing process and development process.4 I have been asked to
review and opine upon Dr. Weisman’s report to the extent it introduces issues relating to the


2
  Weisman Report ¶ 13, 17.
3
  See, e.g. Weisman Report ¶¶ 15, 64, 108; Deposition of Dr. Steven Weisman, January 24, 2020 (“Weisman Dep.”)
  at 39:23-40:18 & 48:7-17.
4
  See, e.g., Weisman Report ¶¶ 14.b, 69-72, 74-82, Figure 3.

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manufacturing and commercial development of Teva’s generic EAI device that are beyond the
scope of Dr. Peck’s report.

        17.     With respect to time period, the focus on my opinions is on that period in which
Dr. Peck concludes that Teva “dropped the ball” with respect to its prosecution of the EAI
ANDA. That period generally coincides with the first evidence seen of settlement discussions
with the relevant Defendants in 2011 and eventual settlement with the relevant Defendants in
April 2012, and runs through the end of 2014. For ease of reference, I shall refer to this as the
“settlement time period.” For the sake of completeness, although I have focused my examination
on the period from the beginning of settlement discussions 2011 through the end of 2014, I have
also considered certain matters (such as FDA deficiency letters) from the 2010 time period as
relevant to the scope of my inquiry.

        18.    In preparing my opinions on these issues, I began with the factual record cited and
relied upon by Dr. Weisman. In addition to those materials relied upon by Dr. Weisman, I have
also looked to Teva’s meeting minutes surrounding this project (a number of which do not seem
to have been analyzed by Dr. Weisman) and other documents ignored by Dr. Weisman. I have
had access to the full database of materials produced by Teva, Mylan, and Pfizer. The materials I
have relied upon are set forth in Appendix B.

        19.    My opinions are based on the information currently available to me. I reserve the
right to amend my analyses and my conclusions if any new information becomes available.

                                 III. SUMMARY OF OPINIONS

        20.     In the time period following Teva’s 2012 settlement with the relevant Defendants
and extending throughout 2014, Teva neither treated its generic EAI device as a priority nor
made reasonable commercial efforts to develop the product to bring it to market in the United
States. To the extent Dr. Weisman seeks to rebut Dr. Peck’s opinions through the introduction of
manufacturing concerns and other commercial considerations, I disagree with Dr. Weisman’s
view that Teva prioritized its EAI project and exercised reasonable commercial efforts in the
settlement time period. Contrary to Dr. Weisman’s assertions, I conclude that Teva did not
display reasonable commercial efforts or follow standard practices in pursuit of its generic EAI
device during the settlement time period. The documentary record, viewed in light of my
manufacturing experience, leads me to conclude that Teva devoted inadequate resources to the
EAI project, failed to address development issues in a timely fashion, and failed to prioritize the
project, among other issues.

       21.     With respect to the specific manufacturing concerns cited by Dr. Weisman, it is
my opinion that the manufacturing issues experienced by Teva were by no means unique or
complicated. The issues were, viewed objectively, of the type often experienced in drug
development and could have been resolved far more rapidly had Teva displayed reasonable
commercial effort. But rather than treating the project as a priority, the documentary record,
viewed with a background and experience in manufacturing and development, demonstrates that
Teva did not devote adequate resources or attention to the EAI project during the settlement time
period. All of the issues recited by Dr. Weisman as impediments to Teva’s EAI ANDA could
have been resolved far more quickly had Teva followed standard practices.

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         22.     The fact that Teva did not take a commercially reasonable approach to the project
in the time period following settlement could help explain why the development history of
Teva’s generic EpiPen is such an outlier in the pharmaceutical industry in general and for Teva
in particular. Teva is a large, sophisticated, and very successful pharmaceutical company with
extensive experience in ANDA applications and injectable products. Mylan and Pfizer’s
pre-settlement projections show that they believed Teva would be able to bring its generic EAI
device to market far more quickly than it did as well. Teva’s internal documents, however,
establish that it took its proverbial “foot off the gas” during the settlement time period, only to
recommence normal commercial efforts as the potential June 2015 entry date approached.

                                                   IV. ANALYSIS

        23.    I will begin by assessing Dr. Weisman’s contention that Teva treated its generic
EAI device project as a priority at all times during its development. I then turn to assessing the
various manufacturing issues during the relevant timeframe—i.e., the settlement time period—
that Dr. Weisman cites as impediments to Teva’s obtaining approval of its EAI device. Finally, I
note other considerations that reinforce my conclusions with respect to Teva’s pursuit of its EAI
ANDA.

A.         During the Settlement Time Period, Teva Did Not Treat Its Generic EAI Device as a
           Priority.

        24.     As noted above, Dr. Weisman has opined that Teva treated the development of its
generic EAI device as a priority at all times, including before commencement of settlement
discussions with Defendants, after the commencement of discussions with Defendants, and
following its settlement with Defendants.5 I do not agree with Dr. Weisman’s opinion that Teva
treated its EAI device as a priority after commencing settlement discussions with the relevant
Defendants and, in particular, following the settlement with the relevant Defendants. The
documentary record does not support the notion that Teva treated its generic EAI device as a
priority during the settlement time period. In fact, quite the opposite: the documentary record
demonstrates that the product was not prioritized by Teva. In short: simply labeling something as
“priority,” “high priority,” or “HP,” does not make it so.6



5
    Weisman Dep., 39:23-40:18.
6
    Dr. Weisman cites Teva_EPI_MDL00122044 in support of the assertion that “from 2011-2014, the project was
    consistently referred to as ‘HP’ or high priority.” Weisman Report ¶ 64 n. 75. But Dr. Weisman admitted during
    his deposition merely labeling a project as a priority does not make it so. Weisman Dep., 85:21-86:10. In addition,
    despite the label, Teva_EPI_MDL00122044 does not show that the product was treated a high priority. Next, Dr.
    Weisman cites Teva_EPI_MDL00076337 to suggest the EAI project was high priority within Teva. Weisman
    Report ¶ 64 n. 75. The cited document is a May 2012 meeting invitation, with an attached slide deck,
    Teva_EPI_MDL00076338.

                                                                           As set forth in Section IV.B.2, infra, these
    are all issues that can be resolved rather quickly when sophisticated companies take reasonable efforts; instead, it
    took Teva years to resolve these issues. Weisman cites a similar document to support his argument that Teva
    prioritized the project based on its supposed efforts to “obtain approval” from the FDA. Weisman Report ¶ 64 n.74
    (citing Teva_EPI_MDL00073885 [Nov. 1, 2011 email stating “[e]pinephrine is a top priority project.”]). For the
    same reasons I now mention, this document also does not necessarily show prioritization.

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        25.     I will first address the email and other communications cited by Dr. Weisman; I
will then turn to an analysis of Teva’s meeting minutes regarding this project during the
settlement time period.

         1.      The Documents Cited by Dr. Weisman Demonstrate that Teva Did Not Treat
                 Its Generic EAI Device as a Priority During the Settlement Time Period.

         26.    Generally speaking, the documents recited by Dr. Weisman do not support the
contention that Teva treated its generic EAI device as a priority during the settlement time
period. In this section, I will discuss several examples that I believe merit detailed attention. My
failure to specifically discuss any document cited by Dr. Weisman should not be taken as
agreement with the notion that a document supports the “priority” contention.7

        27.     For example, Dr. Weisman cites Teva_EPI_MDL00073885 to support the notion
that there is “no question . . . that this product was a high priority for Teva.”8 This document
does not support the notion that the project was a high priority for Teva following its settlement
with the relevant Defendants.



                                                                                      <467>.

                 A.       By way of background, manufacturers use solvents in API production to
         solubilize drugs or to purify the product.9 The FDA classifies solvents by toxicity and
         sets very strict limits. The FDA describes these limits in various FDA documents. In its
         March 2010 deficiency letter, FDA requested information about the toxicity of the
         solvents used by Teva in the API for its EAI device and requested that Teva confirm the
         method used to test the toxicity of those solvents complied with USP <467>. This is a
         standard request; indeed, anyone that develops and produces drugs would know the
         specific limit for each solvent and have the appropriate equipment and methods in place
         to be able to conduct the necessary tests.10 Teva would have been well aware of the
         requirements and testing for solvents. A GC system—which Teva already had—is
         necessary to conduct these tests. This is a standard USP test and any generic company
         that does USP testing and would have the equipment.



7
  For example, in support of his argument that Teva prioritized the project based on the supposed work Teva did to
   “obtain approval” from the FDA, Dr. Weisman cites a document that does not show prioritization. Weisman
   Report ¶ 70, nn. 88 & 89. Teva_EPI_MDL00076251 is a March 2011 email thread in which the team is requesting
   additional regulatory assistance. This suggests that they did not have enough regulatory assistance as of March
   2011.
8
  Weisman Report ¶ 64 n.74.
9
  In the manufacturing of APIs, producers used to solubilize the reactants to perform a chemical transformation.
   They are also used to purify the compounds, and in the production of dosage such as an injectable, solvents are
   used often to solubilize the drug.
10
    Companies like Teva would run this method on a routine basis. The solutions required would be available nearly
   on demand. An operator would prepare the samples directly injected into the GC or use an autosampler. For most
   solvents, the average retention time (the actual time in the GC) would elute in less than 10 minutes.

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                 B.     Access to a GC system for this project should not have been difficult to
         obtain and, indeed, the system would only be needed for a limited period of time. In my
         experience, this problem is inconsistent with the notion that it was a priority project
         because a priority project should not require permission to use necessary equipment. But,
                             —per Teva_EPI_



                                                                                       oes not
         demonstrate that the project was afforded priority status within Teva, but the opposite.11

         28.    Dr. Weisman quotes Teva_EPI_MDL00185009 for the statement that “nothing at
[Teva] is more important than epinephrine this week, so please closely monitor staff activity
...”.12 Dr. Weisman also cites the same document to argue that “in November 2011, internal
correspondence discussed how to make available additional employees so that more of them
could work on the ANDA.”13

                 A.      This document, viewed from the perspective of my experience in
         manufacturing, demonstrates that the project was not afforded priority status. One of the
         project’s core team members, David Feigelson, had to specifically ask who he needed to
         email to make sure that the project was not interrupted by training. This document thus
         cuts against Dr. Weisman’s premise: if the Teva EAI team had to seek additional
         personnel, the suggestion is that the team lacked sufficient staffing (and that understaffed
         team was being interrupted), undercutting the notion that it was treated as a priority
         within Teva.

                 B.      This document undercuts Dr. Weisman’s priority notion for another
         reason: it indicates that Epinephrine is a priority only “this week.” This suggests that
         Epinephrine was not already a priority. At his deposition, Dr. Weisman was asked
         whether he had any knowledge or evidence regarding other priorities within Teva,
         including priorities for the preceding and following week. In response, Dr. Weisman
         equivocated and could provide no specific information regarding other priorities within
         Teva.14 At best, Dr. Weisman offered generalities that, in my opinion, are contradicted
         by this document.

         29.


                           Dr. Weisman cites this document to support his “priority” notion as well.

                A.      By way of background, the FDA has set strict limits on the impurities in
         the API of a drug product. These impurities can come from several places: they can be

11
   Also, I would note that the manufacturer of the API (Epinephrine) would have conducted similar tests; the results
   would be part of the COA (Certificate of Analysis), which would have arrived with the shipment.
12
   Weisman Report ¶ 64 n. 75.
13
   Id. at ¶ 64 n. 76.
14
   Weisman Dep. Dep., 128:24-132:22.

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         the result of an unstable API or the interaction between the API and either the excipients
         or other materials that come in contact with the API.15 In the cited email, a Teva EAI
         team member, Rosario Lobrutto, requests that two of the requests be done “within a
         week,” to which Steven Youngberg at AMRI says “I will start the process and get you
         something shortly.”

                 B.      This email shows only that the particular requests from Mr. Lobrutto were
         “urgent”—the email does not show that Teva treated the EAI device as a priority. Based
         on the email, it appears that at least one of these impurities is new and could have
         required additional testing. Addressing this issue simply requires standard testing; the
         required tests are well-known and well-established, being set forth in regulations and
         documentation from FDA.

        30.      Dr. Weisman also cites Teva_EPI_MDL00042007, which is an October 2013
email thread that lists Epinephrine as has having a “prioritization” of “1” at Teva.16 Dr.
Weisman fails to mention that the subject line of the email thread is really a question presented
to a broader Teva team. The subject line reads, “do we all agree to these priorities,” and the
email lists 12 other Teva projects, three of which received a prioritization of “1.” Asking whether
the prioritization was correct does not suggest that everyone knew what the prioritization was or
agreed; rather, it suggests that the priority must not be very clear.

        31.    Finally, Dr. Weisman cites Teva_EPI_MDL00034691 to support the statement
that the EAI “is a very high priority project” for Teva.17 But the document, a March and April
2014 email thread,


                                                                                       18
                                                                          This is a quick test to
run—roughly 24 hours—and the information is critical for the formulation. The amount of time
taken to do this was longer than necessary, suggesting that the project was not a priority.19

         32.     The documents cited by Dr. Weisman do not support the hypothesis that Teva
prioritized its EAI project in the settlement time period; in fact, these documents suggest that


15
    Since the email cited is asking for the impurities to be characterized by CNMR or NMNR, one can assume that
   these are unknown impurities. For an unknown impurity, the limit is normally in the range of 0.5% or less. An
   analyst measures these impurities using some form of chromatography (HPLC). A particular wavelength of light
   passes through a sample, and the interaction of the two is measured. Due to the samples' ability to absorb light
   energy, it could give incorrect results. A company will normally identify the impurity if possible and produce a
   small sample which is used as a standard to get an accurate reading.
16
    Weisman Report ¶ 64 n. 75
17
    Weisman Report ¶ 64 n. 75.
18
    If the material is hygroscopic, it could affect the amount of API in the final product and result in a formulation,
   which contains less drug than required. Teva was trying to increase the amount of API, and hygroscopicity can
   have a negative impact on this amount. Hygroscopicity can also be of concern because products that pick up water
   often do not flow as well, and in a mixture, this could result in separation of the API from the excipient and reduce
   the uniformity of the mixture going into the product.
19
    The European Pharmacopeia defines the test for hygroscopicity. The analyst places a sample of known weight
   into a tray and stores the material for 24 hours in a controlled temperature and humidity chamber (25C and 80%
   humidity). The weight is recorded after 24 hours, and this indicates the amount of water if the sample absorbs any.

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Teva was not prioritizing the project. My opinions in this regard are further supported through
my analysis of Teva’s meeting minutes, analyzed in the next section.

           2.      Teva’s Own Meeting Minutes Demonstrate that it Did Not Treat the EAI
                   Project as a Priority During the Settlement Time Period.

        33.     At his deposition, Dr. Weisman testified that Teva’s meeting minutes
demonstrated priority treatment for this project and “a consistent record of activity around a
variety of ongoing issues [in the meeting minutes] and what appeared to be appropriate activity
around the issues and reasonable and expected timelines around these issues.”20 I disagree with
Dr. Weisman’s opinion regarding Teva’s meeting minutes for several reasons: he relies upon
generalities divorced from the minutes themselves, he has failed to analyze the lack of progress
shown in relevant meeting minutes, and the meeting minutes confirm a lack of priority treatment.
These meeting minutes also confirm that Teva consistently failed to follow up with the FDA
during the settlement time period as well.

        34.     There are a number of meeting minutes during the relevant settlement time
period. For purposes of illustration, I will highlight several features of these meeting minutes
that confirm the lack of priority treatment. Again, I would emphasize that absence of any
particular set of minutes in the following discussion should not be construed as supporting the
notion that such minutes show priority treatment. Rather, I have analyzed the meeting minutes
for the settlement time period as a whole, from the perspective of my professional background,
and conclude that this documentary record demonstrates a lack of priority treatment. The
following discussion is intended to be illustrative.

        35.     Teva’s EAI project meeting minutes for the settlement time period demonstrate a
lack of priority—as well as a lack of reasonable commercial efforts—for several reasons.
Among other things, many simply have the same information “copied and pasted” with no, or
only a few, updates reflecting little being done at the meetings. The minutes show deadlines
frequently being missed, unexplained delays, and a consistent lack of follow through. Further,
although Dr. Weisman claims that the meeting minutes generally support Teva’s diligence in the
settlement time period, Dr. Weisman fails to cite any meeting minutes for a roughly 9-month
period during 2013 (from May until December).

        36.     In addition, many of the meetings were only attended by a few team members
rather than a robust team. For instance, there are a number of “Teva/Antares Epinephrine
Autoinjector Meeting Minutes” from Teva Pharmaceuticals USA, from December 2009 until
April 2013. The number of people listed as potentially attending these meetings varied but was
often around 15 to 20 individuals. Approximately half of the meetings were attended by six or
fewer team members and several of the meetings in 2012 and 2013 were only attended by two or
three members. Teva_Epi_MDL00003071 (3 of 18 potential attendees were at the 5/1/2012
meeting); Teva_Epi_MDL00003056 (2 of 16 potential attendees were at the 6/12/12 meeting);
Teva_Epi_MDL00258552 (3 of 16 potential attendees were at the 1/9/2013 meeting).




20
     Weisman Dep., 97:2-6.

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        37.     The meeting minutes also show that Teva failed to follow up on agenda items in a
timely manner, choosing to just copy and paste the same status with no update. One critical
example of this is delays and inaction with respect                                         . I
address this issue in greater detail below, infra ¶¶ 59–60. For these purposes, I note that Teva’s
meeting minutes for April 17, 2012 note an issue
      .21 Seven months later, the meeting minutes for November 27, 2012 report the same
problem without any update.22 For a high priority project, I would have expected to see more
updates between April and the month of November to correct this issue.

        38.




        39.   Another example of unacceptable lack of follow up is Teva’s inattention to a
              . I would expect such a plan to be treated as high importance in any
commercially reasonable development effort, particularly for a “priority” project.




                                                                            Teva does not appear to
be following up in the manner I would expect as standard practice—much less for a supposedly
priority project. Contrary to showing that this was a high priority project, Teva seems to be very
relaxed about the timing and there is no reporting of follow up or explanation for these delays.
Based on my professional experience, I would think that if this project was a priority,
                 would be important and that Teva would be intimately involved in the planning
to avoid further delays.


21
   Teva_EPI_MDL00003076.
22
   Teva_EPI_MDL00015814.
23
   Teva_EPI_MDL00003076.
24
   Teva_EPI_MDL00003071.
25
   Teva_EPI_MDL00261447.
26
   See, e.g., Teva_EPI_MDL00021892.
27
   Teva_EPI_MDL00261447.
28
   Teva_EPI_MDL00178477,
29
   Teva_EPI_MDL00015814.

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        40.      Teva also did not act in a timely fashion

                               In my experience, this document is prepared very early in the
project and covers the development, as well as the commercial aspects, including all testing and
releases.



                                                       would be part of the

It would be required for all outsourced product, including component and API. This is important,

                                                   should not have taken more than two
years—in my professional experience, this is something that should take a few months, at most.

        41.     The meeting minutes also confirm the existence of long delays between
                                                                Dr. Weisman opines that Teva
considered this program to be a high priority, but when companies establish a priority, it
typically affects all of the divisions in the company. You cannot have one team considering this a
high priority and another group not. Based upon Teva’s documents, its internal working groups
were not on the same page with respect to supposed company-wide priorities.




       42.     In summary, I believe that the record does not support Dr. Weisman’s contention
that Teva treated the development of its generic EAI device as a priority following
commencement of settlement negotiations with Mylan and Pfizer and following settlement. I

30
    Teva_EPI_MDL00261563.
31
    Teva_EPI_MDL00021877.
32
    Teva_EPI_MDL00003076.
33
    Teva_EPI_MDL00178477.
34
    Teva_EPI_MDL00258562.
35
    Teva_EPI_MDL00021892. This note is under the label BE Deficiency, not the next bullet point, Labeling
   Deficiency, but from context, it appears as though its placement is an error.
36
    Teva_EPI_MDL00021877. As indicated, the April 30, 2013 meeting minutes were the last minutes that I could
   locate until a new format of meeting minutes began to be used in December 2013.

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reach this conclusion based upon the materials considered by Dr. Weisman, Teva’s meeting
minutes during this time period, and my professional experience. The record indicates not only
that Teva did not treat the EAI device as a priority in the settlement time period, but also that it
did not display commercially reasonable efforts in bringing the product to market. I turn to the
commercial reasonability of Teva’s efforts in more detail—and the manufacturing issues it
confronted—in the next section.

B.      During the Settlement Time Period, Teva Did Not Employ “Reasonable Commercial
        Efforts” or Follow Standard Practices.

        1.       Dr. Weisman’s View of “Reasonable Commercial Efforts” Is Premised on the
                 Incorrect Notion that Teva’s Generic EAI Device Was a Uniquely
                 Challenging Product.

        43.    In his report, Dr. Weisman does not define reasonable commercial efforts, nor
does he define what he considers to be reasonable “diligence” in the prosecution of an ANDA.37
At his deposition, Dr. Weisman said that, in his opinion, reasonable commercial efforts include,
among other things: “organization of a process that leads to answering a question in a timely
manner, and so that would include team meetings, that would be appropriate staffing of teams, it
would include appropriate expertise to make meaningful decisions, it would include selection of
appropriate vendors.”38

        44.    Dr. Weisman’s definition of reasonable commercial efforts scratches the surface.
For example, having team meetings is meaningless unless the meetings have purpose and move
the ball forward. In my opinion, reasonable commercial efforts are the means by which a
reasonable, experienced, and prudent company would meet its goals through budgeting, staffing,
timelines, and prioritization. I disagree with Dr. Weisman’s contention that Teva used
“reasonable commercial efforts” for the approval of this product. Importantly, the more relevant
touchstone for the assessment of Teva’s efforts are the standard practices in the industry. This is
a more objective touchstone based in published literature, guidance, and industry practices.
From this perspective, it is indisputable that Teva’s efforts fall short of standard practices and
industry standards in the timeframe under examination.

         45.    Critical to Dr. Weisman’s opinion concerning the commercial reasonability of
Teva’s work is his view that it is difficult to compare projects and that Teva’s EAI device was a
uniquely difficult product to develop. For example, during his deposition, Dr. Weisman
testified: “But the key point here is that drug development is really, really complicated and no
two drugs are the same and so each one needs to be looked at separately and distinctly, and this
was a really hard one.”39 Dr. Weisman continued to state that the delay and difficulties that Teva
faced in the development of the generic EpiPen were the results of the fact that it was a uniquely
difficult product.40



37
   Cf. Weisman Report ¶ 110.
38
   Weisman Dep., 46:11-20.
39
   Weisman Dep., 46:21-25.
40
   See, e.g., Weisman Dep., 165:16-166:21.

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         46.    Dr. Weisman’s notion that the Teva EAI was uniquely difficult and that no
comparison can be made is flawed. Many companies face drug formulation issues and—if the
product is a drug-device combination product—device issues similar to Teva’s. Formulation
problems are not unique in general, nor are they unique in the Epinephrine context; Epinephrine
is not the only API ever formulated that has issues with stability. As for the device-side of the
product, prefilled syringes and auto-injectors are not a new or unique technology. Nor are the
problems they present.

       47.     Dr. Weisman also asserts that EAIs are uniquely difficult products, and not
comparable to other auto-injector products, because they are administered in a state of
emergency. But EAIs are not the only auto-injector products that are administered in an
emergency—or even self-administered when the patient is in physical and mental distress. For
example, Pralidoxime, is an auto-injector and is given to patients exposed to nerve gas or
organophosphate poisoning (pesticides). Exposure to organophosphates results in tremors and
twitching, and the patient would likely be frightened and highly stressed. Dr. Weisman’s
argument that the Teva EAI was uniquely difficult and that no comparison can be made is not
accurate in my experience.

        48.     In a related vein, Dr. Weisman contends that an ANDA is more difficult than an
NDA (or at least that this particular ANDA was more difficult than an NDA). This is contrary to
my experience as well. While I agree that some ANDAs are difficult, ANDAs typically do not
have to go through the same standards for safety and efficacy that NDAs do. An NDA requires
developing a new product from scratch; products submitted as NDAs typically require years of
testing in animals and humans. ANDAs and NDAs can be comparable because the testing
required for stability and the formulation are similar for both applications. A company
submitting an ANDA, however, has the advantage of knowing how the product should be
administered as well as the proper dosage, and can rely on previous work in developing the NDA
to understand what issues can arise. At base, if Dr. Weisman’s assessment regarding the
comparative difficultly of ANDAs and NDAs were correct, generic products would, on average,
likely take much longer to market. That is simply not the case.

           2.      Teva’s Handling of
                                the Settlement Time Period Was Not Consistent with
                   “Reasonable Commercial Efforts” or Standard Practices.

        49.   Dr. Weisman defends Teva’s unusually long approval process by contending that,
although Teva exercised reasonable commercial efforts, it faced significant problems in the
development of its generic EAI device. Dr. Weisman points to many problems that Teva faced
in trying to

                          Dr. Weisman admitted at his deposition, however, that he did not
conduct any analysis of whether the amount of time Teva took to resolve various issues was
reasonable.41 Dr. Weisman also admitted that he did not have experience dealing with many of



41
     Weisman Dep., 109:6-119:18.

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these issues.42 Based on my experience and analysis of the documents for the 2011-2014 time
frame, I conclude Teva did not approach the product development in a commercially reasonable
fashion or in a manner consistent with standard practices or “reasonable commercial effort.”

        50.      Initially, I note that Dr. Weisman grossly underestimates Teva’s wealth of
information and experience. Teva was well-equipped to solve the problems it encountered with
the EAI ANDA if it applied reasonable commercial efforts. If one closely examines the
difficulties that Teva experienced in the 2011-2014 timeframe, it is readily apparent that Teva
had the experience and knowledge base to address these issues promptly, had it wanted to do so.

                   A.     Teva has vast experience in the development of generic drugs. Teva is
           one of the largest generics companies in the world, with over 1,600 ANDA approvals.43

                   B.       Teva has vast experience in injectable products and prefilled syringes, in
           particular, and is therefore familiar with FDA requirements for injectables. See, e.g., Peck
           Report Table 4. Furthermore, Teva has manufacturing experience producing prefilled
           syringes at its factory in Croatia.

                   C.     Teva has experience with Epinephrine. Teva had an Epinephrine product,
           which it began producing in roughly 1985.44 Teva also had approval for an ANDA for an
           injectable product containing Norepinephrine and isomer of Epinephrine in 2003.45

                   D.     As discussed in more detail below, see infra ¶ 53, Teva had access to the
           label of the RLD (EpiPen), which gave the formulation.

                    E.      Teva, finally, had access to literature and studies related to Epinephrine
           stability, including studies that Teva contributed directly to, giving Teva additional
           insight into the API.

         51.    Reviewing the various issues experienced by Teva during the settlement time
period, I conclude that Teva could have resolved these issues far faster than it did. This is
particularly so given Teva’s status as a sophisticated pharmaceutical company with experience in
generics, injectable products, and Epinephrine. Through the exercise of reasonable commercial
efforts, I would have expected that these problems could have been resolved in one to two years
at most. Teva’s response to the manufacturing issues recited by Dr. Weisman shows that Teva
failed to observe standard practices or apply reasonable commercial effort. Further, Teva’s
failure to commit the necessary personnel and resources to the program led to knock-on effects
later on during the development.



42
     See, e.g., Weisman Dep.,
43
   Teva’s ANDAs are available in the Orange Book located here: https://www.accessdata.fda.gov/scripts/cder/
   ob/index.cfm.
44
   Stepensky, Chorny, Dabour and Schumacher, “Long-Term Stability Study of L-Adrenaline Injections: Kinetics of
   Sulfonation and Racemization Pathways of Drug Degradation,” Journal of Pharmaceutical Science at 970 (Vol.
   93, No. 4, April 2004).
45
   https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=040455.

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         52.   Weisman notes that, in late 2011, Teva decided that it would need to
             This formulation is not complicated and should not have been time consuming, for
several reasons.

         53.




       55.     Third, Teva was well aware of, and experienced with, the stability issues
presented by Epinephrine. As noted above, Teva had experience with Epinephrine, including an
Epinephrine product and Norepinephrine product.48 Teva would have tested the stability of their
Epinephrine and would have had to develop a stable formulation. Teva would have needed to
examine the formulation and look for impurities, including developing and validating methods to
determine the impurities.




       56.     Finally, Teva also had access to a wealth of other information. For example, in
2003, Dr. David Stepensky authored the “Long-Term Stability Study of L-Adrenaline Injections:
Kinetics of Sulfonation and Racemization Pathways of Drug Degradation” in the Journal of
Pharmaceutical Science (Vol 93, No 4., April 2004).49 The Israeli army sponsored the study,
and—crucially—Teva supplied samples of their formulated Epinephrine product for the study.
The study identified various impurities and degradation pathways. It also discussed the use of

46
    See, e.g., https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/019430s053lbl.pdf.
47
   Another issue Teva should have addressed in a more commercially reasonable fashion was an issue with the
   presence of oxygen in the formulation. Epinephrine is oxygen sensitive. During the manufacturing of the dosage,
   one needs to dissolve the ingredients in water. To dissolve the ingredients, it requires mixing and, with mixing it
   can draw in oxygen. The intake of oxygen into the samples increases the formation of the impurities, which
   resulted in adjustments in the manufacturing methods to minimize the intake of oxygen. The increased formation
   of impurities was already known, and Teva was using a Nitrogen blanket in the vessels (Nitrogen Blanket is
   defined as the addition of nitrogen to displace the oxygen and acts like a blanket over the top of the mixture).
   Teva has the tools to solve a problem like this.
48
    https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=040455.
49
    Adrenaline is another name for epinephrine.

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Sodium Metabisulfite and the removal of Oxygen to stabilize the formulation. This means that
any later


         57.    In short, Teva had the capacity to resolve                    promptly, had it
desired to do so. Instead, it displayed a lack of urgency and attention towards                in
the settlement time period.

                 b.

         58.    Dr. Weisman also points to          as an impediment to Teva’s obtaining
approval of its generic EAI device. The principal cause of the                identified by Dr.
Weisman is                                                                                      .51
Teva did not display reasonable commercial efforts in connection with this issue. Far from it:
this issue, which was noted in Teva’s April 2012 meeting minutes, should have been resolved far
sooner. Teva’s records demonstrate delays and a lack of attention during the settlement time
period that I deem unacceptable in my professional experience. Indeed, Teva could have begun


        59.      On April 17, 2012, Teva’s meeting minutes reported the status of


                                                                                                                 53

Seven months later, the meeting minutes for November 27, 2012, report the exact same status.54
I would have expected to see more updates between April and the month of November. Also,
prototypes using the          should be available in 30-60 days, based on industry standards,
and                                                          much sooner.

         60.    Teva’s lack of diligence extended to obtaining
         As described supra ¶¶ 37–38, the meeting minutes show that Teva did not act with a
sense of urgency relating to                                           . To recap: this issue is
reflected in Teva’s April 17, 2012 minutes, which note
      .55 This issue is again reflected in May 1, 2012 minutes,56 minutes from September 18,
2012,57 and continues into 2013, when Teva finally appeared to begin evaluation of




50
   There are other examples. To provide one: in 1994, Dr. Terry Grant published an article in the American Journal
   of Emergency Medicine (Vol 12, Issue 3, p 319-322, May 1, 1994) that demonstrated that with temperatures of
   either 5C or 70C, they saw 64% of the epinephrine had degraded in 12 weeks. Environmental temperature
   variations cause degradation in epinephrine concentrations and biological activity.
51
   Weisman Report ¶ 76 n. 95.
52
   Cook is contract manufacturer for dosage.
53
   Teva_EPI_MDL00003076.
54
   Teva_EPI_MDL00015814.
55
   Teva_EPI_MDL00003076.
56
   Teva_EPI_MDL00003071.
57
   Teva_EPI_MDL00261447.

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                                                                         58
                                                                Teva’s handling of this issue is not
reasonable for several reasons, in addition to the delays discussed above.

                     A.                                     companies will look at their highest priority
            products and assess the risk of manufacturing the product. But there is no indication that
            Teva pursued a way to receive             sooner than August. I would have expected Teva
            to at least research other suppliers, even if it did not have a backup supplier already lined
            up.

                    B.      In addition, to avoid delays and interruptions, companies often have
            multiple suppliers for critical items. 59 For economic reasons as well as to avoid supply
            interruptions, companies will dual source critical materials and components, especially
            for high profile or priority projects.

                    C.     Teva’s actions and inactions are surprising for yet another reason: Teva
            regularly uses                                                       . Throughout its long
            business experience with                      Teva would have built up relationships with
            suppliers. As Teva had an existing business using            I would expect, based on my
            experience, that Teva had a list of approved vendors who could have supplied

       61.     With respect to the      specifically, Teva should have lists of approved suppliers.
There are limited numbers of        manufactured for specific uses in the pharmaceutical context
and locating acceptable       is not complicated. The list of acceptable         for a project like
this would be known to FDA and pharmaceutical companies; often they are considered with
excipients and are publicly available on FDA’s excipient lists. It is not as though the      is
being newly invented or developed for the specific project.

         62.    Again, this is an issue that could have been resolved far more promptly through
the application of reasonable commercial efforts. This                   issue, noted in the April
2012 minutes, was allowed to drag on for well over a year during the settlement time period.
Teva had the capacity to resolve this issue—in a few months, if not weeks—but did not approach
its resolution with any sense of urgency.




58
      See, e.g., Teva_EPI_MDL00021892.
59
      A prudent company would want these companies listed in their submission. If these supplier companies are not
     part of the submission, then a company like Teva would need to submit a supplement to use these products in their
     formulation. A supplement can take two years for FDA review and approval. As mentioned above, companies do
     not want to be dependent on a single supplier for most items. Through the development program, Teva continued
     to move the manufacturing around as well as wait to develop an additional/new supplier. This was not
     commercially reasonable, particularly for a supposedly “priority” project.

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                 c.

       63.    Weisman also raises an issue of                                       Yet again,
Teva had the experience and knowledge to fix this problem but did not address it with reasonable
commercial effort during the settlement time period.

        64.    As discussed above, Teva had experience working with Epinephrine. As such,
Teva would have been aware that it had issues with stability and tested the concentrations of the
potential buffers. Normally, a company will do compatibility studies with products that come
into contact with the formulation. If this project were a priority,



        65.      The                 were ultimately corrected by
                                         . This is not a complicated issue to resolve. Transferring
to                                            , and any improvements in the                  would
not have to be redone. The                                                               are the
same/similar. Dr. Weisman nevertheless testified that this                   was difficult to
address.61 From the perspective of someone experienced in manufacturing, I cannot agree. This
issue is not a complicated one—it is a matter of                      Contrary to Dr. Weisman’s
claim, it is not difficult to                                            especially for a company
like Teva with established relationships

                 d.

         66.    Dr. Weisman also asserts that Teva experienced                               Dr.
Weisman does not specify what sort of                     is referring to. The documents he
references include a December 2013 email that mentions, in passing,                      without
                                                         62
detail, a meeting invitation, and some meeting minutes. With regard to              however, all
injectables are         Teva’s experience with injectables means it could have easily and quickly
resolved any

        67.      To the extent Dr. Weisman is referencing an issue                       I cannot
agree that this is a complicated issue to resolve. A company experienced in injectable products,
such as Teva, would have knowledge respecting the development of
Although the documents cited by Dr. Weisman do not give any indication of the type of
                    I do not believe                   would have been used (although common,
it requires high temperatures).                                      are two other acceptable
methods used by companies                                Once the unit is produced, it would be
placed in a special unit                 This is something that a company with experience in
injectables, like Teva, would know how to develop and fix promptly.


60
   Weisman Report: ¶ 77, n. 98; Figure 3 (April 2013), n. 73, Figure 6 (July 2013), n. 102; Weisman Dep., 111:16-
   116:7; see also Teva_EPI_MDL00205447 (April 17, 2013 meeting invitation
   Teva_EPI_MDL00003296 (July 29, 2013 EAI Project Update); Teva_EPI_MDL00205454 (April 2013).
61
   See Weisman Dep., 102:16-103:2.
62
   Teva_EPI_MDL00205447; Teva_EPI_MDL00047321; Teva_EPI_MDL00115936.

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        68.    To the extent that Dr. Weisman is referencing
for which an issue was apparently discovered in December 2013—I can see no major issue here
either.63 Companies that produce                   understand the importance              For a
product like Epinephrine, a manufacturer would prepare a solution. Products like this
formulation of Epinephrine are                                            Companies that
produce injectable drugs design these
                . While the process of developing these systems is labor-intensive, companies
that produce these types of products understand what is required. Before doing any commercial
work, a company tests the various                                                 . Companies
that manufacture                    are aware of the various commercial systems and understand
the requirements and how to                                             also outlines the
requirements and test methods. Companies will normally test several different
arrangements and test each one to determine which works the best and meet the FDA
requirements for           All of this is known to a company like Teva.

                     e.

            69. Dr. Weisman also points out that
                           Teva elected to move to another manufacturing site. Dr. Weisman’s
implication is that, since                                  Teva needed to move from their
facility.

         70.    However, as noted above, a reasonable company would have lined up second
suppliers for critical components, particularly for high profile or priority projects. Dual sourcing
of critical components is standard in the industry—and best practices for a high profile or high
priority project. This strategy would have allowed Teva to do any necessary testing side by side.
Teva was not acting reasonably by relying on one supplier for a priority project.64 Further,
reasonable companies that are sole-sourced on critical raw materials would audit the plant
annually following a warning letter.

       71.    In addition to dual sourcing, there are many other strategies a reasonable company
could have pursued for a high profile or high priority project when one of their suppliers received
an FDA warning letter. To begin with, Teva could have been more involved in the work at




63
   Teva_EPI_MDL00047321. Nelson Labs is a contract laboratory that routinely performs sterility testing on
   products.
64
   I note that Dr. Weisman fails to address the

                                       While Teva did have some conversations with that supplier, Teva did not seek a
     second supplier aggressively or with much urgency. It was not until early 2014 that Teva started engaging in active
     discussions with other suppliers. Interestingly, one of those suppliers was

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                   f.       Other Issues

       72.     Finally, Dr. Weisman mentions                              that Teva experienced
between 2011 and 2014, but does not provide comment or analysis of these issues. These are
included in Figure 3 of his report; others are mentioned in passing. Looking at each item,
however, I disagree with his assessment that these issues are uniquely difficult to resolve or that
how Teva dealt with these issues constituted reasonable commercial efforts. Again, I would also
emphasize that Dr. Weisman failed to conduct an analysis of what would constitute a reasonable
commercial effort and/or timeframe for resolution.

           73.

              It is a common issue and easily resolved; for a company that makes prefilled
syringe products (like Teva), this is particularly a non-issue and should not have delayed product
development. Companies that produce these types of products use sophisticated
                                                                       are not unusual and are
typically resolved by interaction with the                        Teva would have used various
vendors who have specialized knowledge in their various fields and provided technical support.

           74.
                    Because this is an intramuscular injection, this is less of an issue. This
appeared to be easily resolved through physical adjustments. I do not see evidence that this
slowed development. As noted in the previous paragraph, companies that manufacture the
equipment to fill cartridges are aware of these problems and have solutions for this problem.
Teva, as a producer of prefilled syringes and other injectables, would have been aware of this
type of issue and would have had internal and external resources to correct this problem.

        75.                  March 2011, Teva discovered problems with               . The
placement of                                                            . If the        is not
placed properly,                      Also, the        are in contact with the product and must
be tested for               This was a minor              issue that a company like Teva had
the experience to easily resolve.

       76.                                       : Finally, Dr. Weisman points to Teva’s decision
to make a potentially                                   in 2013-2014.65 The issue here was that,
occasionally,                                                              in part likely due to an
issue                                . Such an issue is not a particularly complicated one to
address, particularly considering the fact that Teva had a partner, Antares, that specialized in the
production of auto-injector devices and was therefore intimately involved in the resolution of
               I would also note, in this regard, an important comparison raised by Dr. Peck:
Antares obtained approval of its generic                                                   ,a
60-month approval timeline. This suggests that Antares and Teva were more than capable of
working together to bring                  to market in less than 10 years. The documents cited by




65
     Weisman Report ¶ 79, n. 105.

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Dr. Weisman suggests, however, that the Teva team was not handling this issue in a timely
fashion.66

C.         During the Settlement Time Period, Dr. Weisman Failed to Consider Aspects of the
           Record Demonstrating that Teva Did Not Treat Its Generic EAI Device as a Priority
           and Did Not Employ Reasonable Commercial Efforts.

        77.     I would note three additional considerations, which I believe provide further
confirmation that Teva did not exercise reasonable commercial efforts with respect to its generic
EAI device during the time period of my examination. The first consideration I would note is
Teva’s status, size, and sophistication as a pharmaceutical company, with particular experience
in bringing both generic drugs and injectable drugs to market. The second consideration is
Mylan’s projections for the likely entry of a generic EpiPen competitor. The third consideration
is Teva’s own documentation from late 2014 that confirms it needed to seriously re-orient this
project following several years of neglect during the settlement time period.

           1.      Teva’s Status as an Experienced and Sophisticated Pharmaceutical
                   Company Confirms that Teva Did Not Devote Reasonable Commercial
                   Efforts During the Settlement Time Period.

        78.   Experienced pharmaceutical companies like Teva can bring products to market in
a commercially reasonable timeframe—even supposedly “complicated” products like
autoinjectors—but Dr. Weisman completely ignores the depth of Teva’s experience and
resources.

       79.      As shown by Table 4 of Dr. Peck’s Report, when Teva makes reasonable
commercial efforts, they can bring products to market in a far shorter period of time than Teva
took for its generic EAI device. I would note:

                  A.       Teva is one of the largest generic pharmaceutical companies in the world,
           with extensive experience in the development of drugs and the ANDA drug approval
           process. The focus of Teva’s business is on generic drugs, and over the years, they have
           gotten many FDA approvals in a reasonable time. Teva knows what is required and what
           they need to do to get approval promptly. As Dr. Weisman admitted in his deposition,
           Teva is a large, sophisticated pharmaceutical company and is “skilled in the art” of
           bringing a drug to market.67

                  B.       Teva also has experience manufacturing injectables. The generic EpiPen
           was not the first injectable product Teva developed. In fact, Teva has developed over

66
     One of the documents cited by Dr. Weisman, Teva_EPI_MDL00114507, is a late 2013 to early 2014 email thread
     discussing the issue, the need to make the device modification, and the team’s lack of stability data.




67
     Weisman Dep., 42:24-45:6.

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           200 injectable drugs and has its own injectables facility producing prefilled syringes.
           Teva has the experience and knowledge to understand and address potential issues that
           can occur in the manufacturing of injectables.

                  C.      Finally, as mentioned above, Teva has experience with the relevant API,
           Epinephrine, in addition to a wealth of literature resources and information from the RLD
           (EpiPen), including its label explaining its formulation.

        80.    In short, Teva is an experienced and knowledgable generics company with
specific experience with injectables, auto-injectors, and Epinephrine. The problems that Teva
experienced while seeking approval of its EAI device were foreseeable and entirely within
Teva’s knowledge base (or that of its partners).

        81.     The lack of reasonable effort by Teva during the settlement time period is further
confirmed by Tables 2 and 3 of Dr. Peck’s Report, which list other EAI products and other auto-
injectors, respectively. From the perspective of manufacturing and product development, I
disagree with Dr. Weisman’s assessment that one cannot compare any of these products to
Teva’s product. Each of these products have to address the same general issues as Teva’s EAI.
Each product needed
                  etc. In short, the basic process for all of these things is the same, and the
requirements are not different for the API in Teva’s generic EAI device. The device side is not
wholly unique either. Auto-injector products are closely related to prefilled syringes, which
Teva manufactures. In addition, Teva’s partner in this project, Antares, specialized in auto-
injector products. Dr. Weisman claims that this product was uniquely difficult, but overlooks the
fact that Teva and their partners had experience in the development and manufacturing of auto-
injector products and experience with the API. In short, from the manufacturing perspective,
other auto-injectors are comparable to Teva’s generic EAI device. While, like every drug, there
could be some issues that were unique to the EpiPen and its generic, these issues are not so
unique that they preclude any comparisons.

         82.     Notwithstanding his opinion that no other products are comparable, Dr. Weisman
states that the delays experienced by Teva were “typical” for other drug-device combination
products.68 Dr. Weisman does not cite a single comparative product to support the notion that
Teva’s delays were “typical” or “reasonable.” After reviewing the record from my professional
experience and background, the problem with this development process was not the magnitude
or nature of the issues that Teva confronted, but rather the way that Teva dealt with those issues
in the settlement time period.

           2.       Mylan and Pfizer’s Projected Entry Dates Likewise Demonstrate that Teva’s
                    Efforts During the Settlement Time Period Were Not Consistent with
                    Reasonable Commercial Efforts.

      83.    Further supporting the capacity of Teva to bring its generic EAI device to
market—and the lack of diligence in doing so during the settlement time period—are the



68
     See, e.g., Weisman Report ¶ 61(b).

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projections of Mylan and Pfizer with respect to when they anticipated that Teva would be able to
enter the market with an AB-rated generic competitor to the EpiPen.

         84.     Although the EpiPen is a branded product, Mylan is principally known as a
generics company. Mylan is a sophisticated pharmaceutical company with extensive experience
getting generics approved through the ANDA approval pathway. Mylan is also, as Dr. Weisman
has confirmed, knowledgeable about the EpiPen device and its competitors. Dr. Weisman
testified at his deposition that Mylan had more experience with, and was more knowledgeable
about, Epinephrine auto-injector devices, and FDA approval of same, than any other party:

           Q And you said that you think that Mylan has great knowledge of the product.
           What do you mean by that?

           A Mylan being the marketer of the EpiPen product had detailed and specific
           information regarding how this product was used, how patients perceived the
           product would have been knowledgeable about all the concerns and issues related
           to the product, adverse events related to the product so I can’t think of any party
           that would have known more about this sort of product than Mylan …

           …

           Q When you say product, do you mean epinephrine auto-injectors generally, or
           what do you mean?

           …

           A So I was really commenting about the Mylan EpiPen product, but thank you
           for broadening that for me because I do believe it’s directly relevant to all
           products that might be used for the specific use in treating anaphylaxis, so I think
           they have very specific knowledge and experience with auto-injectors with
           epinephrine and probably where the one-party who could share meaningful
           information with the FDA regarding the approvability of a generic product.69

        85.    Thus, Mylan’s internal projections reflecting its views as to a reasonable and
anticipated market entry date for Teva’s generic EAI reflect a timeframe for approval of the
project that would reflect reasonable commercial efforts. Those projections show that, as of late
2011 and early 2012, Mylan believed that Teva’s generic would be ready for approval and
entering the market sometime in 2012 or 2013. As of October 2011, for example, Mylan
estimated a 2012 entry date for the Teva generic:70




69
     Weisman Dep., 341:2-342:9. I note that Mylan did not, in fact, develop the EpiPen.
70
     MYEP00908612 at slide 34 (Oct. 23, 2011 Mylan presentation “EpiPen®Auto-Injector 2012-2016”).

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       86.    Likewise, in December 2011, a Mylan and Pfizer joint presentation estimated a
2013 entry date for the Teva product.71 These projections and discussions show that, prior to the
2012 settlement, Mylan and Pfizer were estimating that Teva would come to market sometime in
2012-2013. This suggests that they believed that if Teva was prioritizing the project and making
reasonable commercial efforts, it could quickly bring it to market.

        87.    Mylan and Pfizer projections of entry dates for Teva’s generic EAI device
represent an assessment by knowledgeable parties of the time it would be reasonable in which to
bring the generic EAI device to market, and these demonstrate a timeframe that would be
consistent with reasonable commercial efforts.

        3.       Dr. Weisman Failed to Account for Teva’s Own Acknowledgement of Its
                 Lack of Effort During the Settlement Time Period.

        88.     Finally, Dr. Weisman fails to account for Teva’s internal documents that reflect
the lack of attention to the EAI device project. Consistent with this lack of attention,




71
    MYEP00469618 at slides 3, 4, and 87 (Dec. 8, 2011 JCC presentation); see also MYEP01032651 at slide 14
   (Nov. 28, 2011 Mylan presentation projecting a 2013 entry date for the Teva generic).
72
    At his deposition, Dr. Weisman conceded that he had no knowledge surrounding
                      and could not speak to its relevance to this matter. Weisman Dep., 90:16-92:18.

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        89.    As of May 2014, Rosario Lobrutto, who had been working on the generic EpiPen
project for two years, was finally asked by his higher-ups at Teva whether Teva had
                                      to the EpiPen project.75 Lobrutto responded tactfully that
while the project




           90.      According to Lobrutto




73
     Teva_EPI_MDL0017191


74
     Id. While there appear to be two Teva documents that referenc

                                                                                                             with five
   attendees, including Rosario Lobrutto) and Teva_EPI_MDL00021886 (same, but dated May 7, 2012, and without
   Rosario Lobrutto attending). The dates of these two earlier meeting minutes also appear to be incorrect. See
   Teva_EPI_MDL00021883 (May 7, 2013 email chain referring to Teva_EPI_MDL00021886 as a “revision for
   Yesterday’s Meeting minutes”).
75
   Teva_EPI_MDL00120361 (May 19, 2014 email thread among Teva employees); see also
   Teva_EPI_MDL00033302 (May 20, 2014 email thread among Teva employees, including Lobrutto, that begins
   with May 16 email).

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Teva's generic EpiPen project was not being prioritized by Teva. Instead, it did not have enough
people to successfully address key issues in a timely fashion.T6

         91. Similarly, Teva's "Launch Readiness" meeting minutes show that on December 3,
2013, Teva was considering whether it had devoted enough regulatory resources to the project
and wondering whether




       92.     The timing of Teva's
                      is quite interesting-and telling. That is,
                     in mid- to late-2014, with an eye to an entry date in June 2015. The timing
of                            following years of inaction, reinforces the conclusion that Teva
devoted a lack of commercial effort during the settlement time period.

                                       V. CONCLUSION
        93. It is my opinion that Teva could have developed and launched its generic EAI
device in far less time than the ten years that Teva took. In particular, Teva did not use
reasonable commercial efforts to develop and launch the product from around the time of
settlement through 2014, did not treat the project as a priority, and did not address manufacturing
issues in a timely fashion.




                                                     Respectfully submitted,




                                                           R. Bruno
                                                     February 7,2020
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          APPENDIX A
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                               CURRICULUM VITAE
                                    James R. Bruno

PROFILE

      Over 35 years of industrial experience in the area of custom manufacturing and
       development of pharmaceutical intermediates and Active Pharmaceutical
       Ingredients
      Result oriented executive with experience in all aspects of the development and
       commercialization of pharmaceuticals
      Senior positions in various global organizations responsible for manufacturing,
       development, and marketing
      Assisted in the development and commercialization of various new technologies
      Experience in regulated markets and interface with the FDA

EDUCATION

1982   Master of Business Administration⸺Rider University

1978   Master of Science in Chemistry⸺St. Joseph’s Univeristy

1973   Bachelor of Science in Chemistry⸺Rider University

PROFESSIONAL EXPERIENCE

2002-present Chemical and Pharmaceutical Solutions⸺Managing Director
             Service the emerging market and assist in the development of new
             products and technologies. My role includes the technical assessment of
             new products and processes and the development of long-term suppliers of
             both Drugs Substance as well as Drug Product. Assist emerging
             companies with the development of the Request for proposals, Quality,
             and Supply agreements for manufacturing. Audited new facilities and
             suppliers from both a Quality and technical point of view. Assist larger
             contract manufacturers strategically for the development and focus their
             business working with smaller pharmaceutical companies. My work
             includes the development and oversight of technology transfers as well as
             Quality and Supply Agreements.

1999-2002     Honeywell⸺Global Business Manager
              Lead a group focused on the development of new compounds for a
              contract manufacturer company that develops intermediates and APIs for
              pharmaceutical companies around the world. Responsible for the
              innovator market with six manufacturing units. Additional responsibilities
              included working with Chinese suppliers for the development of new
              products as well as lead outsourcing teams. Also responsible for the
              development of long-term contracts with potential clients for new
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             products, including both large and small pharmaceutical companies, as
             well as new suppliers and subcontractors.

1996-1999    Vinchem⸺Vice President of Sales and Marketing
             Developed new markets and suppliers for a trading organization that
             represents suppliers of pharmaceutical products and broadened their reach
             into custom manufacturing. Developed new business in China and India.
             Performed audits and technical assessments for potential new suppliers
             and contract manufacturers globally.

1994-1996    Aerojet⸺Director
             Responsible for Development and Marketing for domestic manufacturing
             of API supplied to pharmaceutical companies around the globe. From the
             commercial side of the business, my responsibilities included negotiation
             with suppliers and client long term supply agreements. Research and
             Development, as well as the Pilot and Development groups, reported to
             me as well.

1982-1994    Sipsy Chemical⸺Director
             Responsible for the development of new business for the manufacturing of
             API, which was supplied to North American pharmaceutical companies.
             Responsibilities included working with the company to establish long term
             research and supply agreements for both branded and generic drugs and
             auditing of new suppliers, as well as both quality and technical
             assessments of potential suppliers. Assisted in the development of new
             technologies and licensing of new technologies and acted as an FDA
             Agent for the company.

1978-1982    Ganes Chemical⸺Project Manager, New Products
             Responsible for innovator and custom manufacturing projects. Worked
             extensively with large pharmaceutical companies.

1973-1978    NL Industries⸺Technical Service Manager
             Responsible for the development of new formulations and products for
             excipients used in pharmaceutical and cosmetic products. Additional
             responsibilities included the pilot plant operations.

SEMINARS

Year   Title                              Location
2001   After Graduation                   Rider University Guest Lecture Series
2001   M&A                                Chemical Marketing and Economics
2001   The Good, the Bad and the Ugly     Outsourcing 2001
2002   New technology and the FDA         Chiral Chromatography
2002   When the Outsourcers Outsource     Outsourcing 2002
2002   SMB and the FDA                    Dynamic Synthesis Symposium
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2002   FDA and Simulated Moving Bed      Large Scale Chromatography
2003   PEMA                              Fine Chemical market and where it is going
2004   Chromatographic Separations       Large Scale Separations
2004   Chromatography and the FDA        Strategic planning Meeting
2005   Simulated Moving Bed              MCC Users Meeting
2006   Manufacturing in China            SAPA
2007   Miniaturization of Chemistry      Mettler Process Seminar
2007   The Market in China               CpHI
2008   Multi-Column Chromatography       MCC Users Meeting
2008   Microreactors and Continuous Flow AMRI Annual Technical Presentation
2009   Generics and Chromatography       MCC User Groups
2009   Miniaturization of Chemistry      Mettler Annual Meeting
2012   Launching Innovative Technologies Omnics GMP Conference
       In a Regulated Environment
2013   Continuous Flow Chemistry         DCAT Annual Meeting
2013   Implementing New Technologies     Scientific Update
2014   Continuous Processing and the FDA SK Continuous Process symposium
2019   Update on Flow Chemistry          Scientific Update
2018   Phase Appropriate GMP             OMINC


I have also been a guest speaker at the Good Manufacturing Practices (GMP) Roundtable,
which is an event for representatives from pharmaceutical companies to discuss a range
of issues relating to good manufacturing practices relevant to drug development and
manufacturing activities. I have also been a guest speaker at at events by both Scientific
Update and the Catalyst Group.

TRAININGS PRESENTED

I have organized and presented trainings on the following topics:

       Strategic Selling

       Working in a Regulated Environment

       Strategic Planning for Sales and Marketing Groups

       Launching New Technologies

       Working with the DEA

       How the Drug Development Process Works

       Current Good Manufacturing Practices in the Outsourcing World

       Technology and the FDA
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       Excipient Good Manfuacturing Practices

       Continuous Manufacturing and the FDA

       Chromatography and the FDA

       Continuous Chiral Manufacturing

       Emerging Pharmaceuticals Phase 1 to Phase 2

       Implementing New Technologies and the FDA

       Looking at Phase Appropriate Good Manufacturing Practices for Pre-clinical
       and Phase I Drug Development

PUBLICATIONS

Pharmaceutical Manufacturing International:
Keeping Up with Shifting Industry Dynamics

PharmaChem:
Mergers and Acquisitions and Their Effect on Outsourcing
When the Outsourcers Outsource
Chemoutsourcing 2015
Chemoutsourcing 2012
Chemoutsourcing 2010
Privilege Technologies Move West
Mergers and Acquisitions and Their Effect On Outsourcing
Chemistry by the Shore
Outsourcing⸺The Human Side of The Equation
Technology⸺Changing the Way We Do Things

Chemical and Engineering News:
Guest Editorial

Chimica Oggi :
Economics of SMB
Panel Discussion Finished Dosage

Scrip:
US Fine Chemicals Fight a Losing Battle

American Pharmaceutical Review:
Improving Drug Bio-Availability Through Their Chemistry
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Rider University Guest Lecture Series:
Development of a New Drug

EDITORIAL ROLE IN TRADE PUBLICATIONS

PharmaChem⸺Editorial Committee

Organic Process Research & Development⸺Reviewer

PROFESSIONAL SOCIETIES

Drug, Chemical & Associated Technologies Association (DCAT)
Past President and Active Member

Society of Chemical Manufacturers & Affiliates (SOCMA)
At-large Informex Planning Committee and Active Member

American Chemical Society (ACS)
Chairperson of the Middle Atlantic Regional Meeting (MARM) and
Active Member

Rider University, Scientific Advisory Executive Committee
Chairman



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           APPENDIX B
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                             MATERIALS CONSIDERED


 I.      Documents Produced In Discovery

Teva_Epi_000053                Teva_Epi_000394        Teva_Epi_MDL00003081

Teva_Epi_000064                Teva_Epi_000467        Teva_Epi_MDL00003087

Teva_Epi_000092                Teva_Epi_000509        Teva_Epi_MDL00003183

Teva_Epi_000095                Teva_Epi_000519        Teva_Epi_MDL00003296

Teva_Epi_000098                Teva_Epi_000527        Teva_Epi_MDL00003420

Teva_Epi_000101                Teva_Epi_000603        Teva_Epi_MDL00015586

Teva_Epi_000109                Teva_Epi_MDL00000302   Teva_Epi_MDL00015654

Teva_Epi_000114                Teva_Epi_MDL00001426   Teva_Epi_MDL00015746

Teva_Epi_000132                Teva_Epi_MDL00001930   Teva_Epi_MDL00015814

Teva_Epi_000137                Teva_Epi_MDL00002080   Teva_Epi_MDL00015844

Teva_Epi_000142                Teva_Epi_MDL00002088   Teva_Epi_MDL00015855

Teva_Epi_000146                Teva_Epi_MDL00002856   Teva_Epi_MDL00015945

Teva_Epi_000147                Teva_Epi_MDL00002858   Teva_Epi_MDL00016006

Teva_Epi_000153                Teva_Epi_MDL00002971   Teva_Epi_MDL00016052

Teva_Epi_000169                Teva_Epi_MDL00003047   Teva_Epi_MDL00016098

Teva_Epi_000200                Teva_Epi_MDL00003051   Teva_Epi_MDL00016320

Teva_Epi_000207                Teva_Epi_MDL00003056   Teva_Epi_MDL00016669

Teva_Epi_000276                Teva_Epi_MDL00003061   Teva_Epi_MDL00016699

Teva_Epi_000296                Teva_Epi_MDL00003066   Teva_Epi_MDL00016834

Teva_Epi_000350                Teva_Epi_MDL00003071   Teva_Epi_MDL00017038

Teva_Epi_000362                Teva_Epi_MDL00003076   Teva_Epi_MDL00019384
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Teva_Epi_MDL00019521     Teva_Epi_MDL00030155      Teva_Epi_MDL00073885

Teva_Epi_MDL00019547     Teva_Epi_MDL00032091      Teva_Epi_MDL00073908

Teva_Epi_MDL00019725     Teva_Epi_MDL00033302      Teva_Epi_MDL00074017

Teva_Epi_MDL00020487     Teva_Epi_MDL00034691      Teva_Epi_MDL00074030

Teva_Epi_MDL00020909     Teva_Epi_MDL00036229      Teva_Epi_MDL00074049

Teva_Epi_MDL00021363     Teva_Epi_MDL00039044      Teva_Epi_MDL00074086

Teva_Epi_MDL00021877     Teva_Epi_MDL00041862      Teva_Epi_MDL00074127

Teva_Epi_MDL00021883     Teva_Epi_MDL00042007      Teva_Epi_MDL00074156

Teva_Epi_MDL00021886     Teva_Epi_MDL00042716      Teva_Epi_MDL00074235

Teva_Epi_MDL00021892     Teva_Epi_MDL00044948      Teva_Epi_MDL00074293

Teva_Epi_MDL00023541     Teva_Epi_MDL00044967      Teva_Epi_MDL00074301

Teva_Epi_MDL00023595     Teva_Epi_MDL00045613      Teva_Epi_MDL00074463

Teva_Epi_MDL00023695     Teva_Epi_MDL00045636      Teva_Epi_MDL00074482

Teva_Epi_MDL00023758     Teva_Epi_MDL00047321      Teva_Epi_MDL00074536

Teva_Epi_MDL00024215     Teva_Epi_MDL00058499      Teva_Epi_MDL00074560

Teva_Epi_MDL00024927     Teva_Epi_MDL00059329      Teva_Epi_MDL00074573

Teva_Epi_MDL00024944     Teva_Epi_MDL00068541      Teva_Epi_MDL00075980

Teva_Epi_MDL00025167     Teva_Epi_MDL00073629      Teva_Epi_MDL00075989

Teva_Epi_MDL00027653     Teva_Epi_MDL00073639      Teva_Epi_MDL00076017

Teva_Epi_MDL00027751     Teva_Epi_MDL00073652      Teva_Epi_MDL00076024

Teva_Epi_MDL00027757     Teva_Epi_MDL00073679      Teva_Epi_MDL00076029

Teva_Epi_MDL00027929     Teva_Epi_MDL00073866      Teva_Epi_MDL00076041

Teva_Epi_MDL00027976     Teva_Epi_MDL00073877      Teva_Epi_MDL00076050
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Teva_Epi_MDL00076059     Teva_Epi_MDL00117206      Teva_Epi_MDL00205447

Teva_Epi_MDL00076063     Teva_Epi_MDL00120361      Teva_Epi_MDL00205449

Teva_Epi_MDL00076099     Teva_Epi_MDL00122044      Teva_Epi_MDL00205454

Teva_Epi_MDL00076175     Teva_Epi_MDL00124639      Teva_Epi_MDL00207335

Teva_Epi_MDL00076181     Teva_Epi_MDL00124641      Teva_Epi_MDL00210009

Teva_Epi_MDL00076189     Teva_Epi_MDL00125075      Teva_Epi_MDL00210021

Teva_Epi_MDL00076197     Teva_Epi_MDL00154397      Teva_Epi_MDL00210040

Teva_Epi_MDL00076201     Teva_Epi_MDL00171910      Teva_Epi_MDL00229795

Teva_Epi_MDL00076208     Teva_Epi_MDL00178295      Teva_Epi_MDL00242979

Teva_Epi_MDL00076251     Teva_Epi_MDL00178477      Teva_Epi_MDL00258552

Teva_Epi_MDL00076279     Teva_Epi_MDL00184750      Teva_Epi_MDL00258557

Teva_Epi_MDL00076300     Teva_Epi_MDL00184921      Teva_Epi_MDL00258562

Teva_Epi_MDL00076301     Teva_Epi_MDL00185009      Teva_Epi_MDL00258567

Teva_Epi_MDL00076337     Teva_Epi_MDL00185032      Teva_Epi_MDL00258572

Teva_Epi_MDL00076338     Teva_Epi_MDL00185200      Teva_Epi_MDL00261447

Teva_Epi_MDL00076471     Teva_Epi_MDL00189697      Teva_Epi_MDL00261452

Teva_Epi_MDL00076482     Teva_Epi_MDL00197380      Teva_Epi_MDL00261507

Teva_Epi_MDL00078352     Teva_Epi_MDL00197426      Teva_Epi_MDL00261512

Teva_Epi_MDL00079012     Teva_Epi_MDL00197437      Teva_Epi_MDL00261517

Teva_Epi_MDL00114507     Teva_Epi_MDL00197606      Teva_Epi_MDL00261522

Teva_Epi_MDL00115497     Teva_Epi_MDL00197769      Teva_Epi_MDL00261527

Teva_Epi_MDL00115498     Teva_Epi_MDL00200442      Teva_Epi_MDL00261532

Teva_Epi_MDL00115936     Teva_Epi_MDL00204172      Teva_Epi_MDL00261537
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Teva_Epi_MDL00261542            Teva_Epi_MDL00440070            MYEP00181130

Teva_Epi_MDL00261547            Teva_Epi_MDL00440241            MYEP00285878

Teva_Epi_MDL00261552            Teva_Epi_MDL00440290            MYEP00346300

Teva_Epi_MDL00261557            Teva_Epi_MDL00440299            MYEP00456698

Teva_Epi_MDL00261563            Teva_Epi_MDL00440613            MYEP00469618

Teva_Epi_MDL00273777            Teva_Epi_MDL00440631            MYEP00471062

Teva_Epi_MDL00279466            Teva_Epi_MDL00440723            MYEP00824750

Teva_Epi_MDL00284121            Teva_Epi_MDL00440741            MYEP00908612

Teva_Epi_MDL00307596            Teva_Epi_MDL00440774            MYEP01028706

Teva_Epi_MDL00316034            Teva_Epi_MDL00440804            MYEP01032651

Teva_Epi_MDL00317348            Teva_Epi_MDL00440829            MYEP01038130

Teva_Epi_MDL00317364            Teva_Epi_MDL00440933            MYEP01132991

Teva_Epi_MDL00354892            Teva_Epi_MDL00440937            MYEP01133007

Teva_Epi_MDL00382921            Teva_Epi_MDL00474213            MYEP01138470

Teva_Epi_MDL00395257            FOIA-FDA_006703                 MYEP01342132

Teva_Epi_MDL00412519            MYEP00000326                    MYEP01342196

Teva_Epi_MDL00435692            MYEP00000342                    PFE_EPIPEN_AT00452259

Teva_Epi_MDL00436786            MYEP00001505                    PFE_EPIPEN_AT00740105

Teva_Epi_MDL00439374            MYEP00021692



 II.     Case Documents

Expert Report of Steven M. Weisman dated December 23, 2019 and Materials Considered

Transcript of the Deposition of Dr. Steven Weisman dated January 24, 2019
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Expert Report of Carl Peck, M.D. dated October 31, 2019

Transcript of the Deposition of Dr. Carl Peck dated November 21, 2019


III.     Articles

David Stepensky et al., Long-term stability study of L-adrenaline injections: Kinetics of
sulfonation and racemization pathways of drug degradation, Journal of Phamaceutical Science
(Vol 93, No. 4, April 2004)

Terry Grant, M.D. et al. Environmental temperature variations cause degradations in
epinephrine concentration and biological activity, American Journal of Emergency Medicine
(Vol 12, No. 3, May 1994)
